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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

 In re                                                           )
                                                                 ) Case No. 17-20796-TBM
 NINER, INC.                                                     )
 EIN: XX-XXXXXXX                                                 ) Chapter 11
                            Debtor-in-Possession.                )
                                                                 )

      MOTION FOR ENTRY OF ORDER (A) APPROVING ASSET PURCHASE
 AGREEMENT AND AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF THE
 DEBTOR’S ASSETS; (B) AUTHORIZING THE SALE OF ASSETS FREE AND CLEAR
  OF ALL LIENS, CLAIMS, RIGHTS, ENCUMBRANCES AND OTHER INTERESTS
   PURSUANT TO BANKRUPTCY CODE SECTIONS 363(b), 363(f) and 363(m); (C)
    ASSUMING AND ASSIGNING CERTAIN EXECUTORY CONTRACTS AND
  UNEXPIRED LEASES PURSUANT TO BANKRUPTCY CODE SECTION 365; AND,
                      (D) GRANTING RELATED RELIEF

         Debtor Niner, Inc., debtor and debtor-in-possession herein (the “Debtor”) in the above-
 referenced chapter 11 case (the “Chapter 11 Case”), files this motion (the “Sale Motion”) for the
 entry of an order: (a) approving the Asset Purchase Agreement dated November 27, 2017 (the
 “Agreement,” a copy of which is attached hereto as Exhibit 1),1 between the Debtor, as seller,
 and Niner Acquisition LLC (the “Purchaser”), as buyer, and authorizing the sale (the “Sale”) of
 substantially all of the assets of the Debtor (the “Purchased Assets”); (b) authorizing the sale of
 the Debtor’s assets free and clear of all liens, claims, rights, encumbrances, and other interests
 pursuant to §§ 363(b), 363(f), and 363(m) of the Bankruptcy Code; (c) assuming and assigning
 certain executory contracts and unexpired leases (the “Assumed Contracts and Leases”) pursuant
 to § 365 of the Bankruptcy Code; and, (d) granting related relief.

         Concurrently herewith, the Debtor is filing the Motion for Entry of Order: (a) Approving
 Bid Procedures for the Sale of Substantially All of the Debtor’s Assets; (b) Scheduling an Auction
 and Sale Hearing to Consider the Sale and Approve the Form and Manner of Notice Related
 Thereto; (c) Approving Payment of Break-up Fee and Expense Reimbursement; (d) Approving
 Procedures for the Assumption and Assignment of Certain Executory Contracts and Unexpired
 Leases and, (e) Granting Related Relief (the “Bid Procedures Motion”), which seeks approval
 of certain bid procedures and bidder protections (the “Bid Procedures”) with respect to the Sale,
 scheduling an auction (the “Auction”) for the Purchased Assets and a hearing approving the sale
 of the Purchased Assets2 (the “Sale Hearing”), and approving certain assignment procedures (the
 “Assignment Procedures”), for the assumption and assignment of certain executory contracts and
 unexpired leases related to the Purchased Assets, including any and all amendments, modifications
 and exercised options for renewal of terms relating to such executory contracts and unexpired

 1
           All capitalized terms not defined herein have the meanings ascribed to them in the Agreement.
 2
           Terms not otherwise defined herein shall have the meaning set forth in the Asset Purchase Agreement.


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 leases, and whose assignment is contemplated by the Sale (the “Assumed Contracts and
 Leases”), as more particularly set forth therein. In support of this Sale Motion, the Debtor
 respectfully states as follows:

                                             Preliminary Statement

         1.      By this Sale Motion, the Debtor seeks approval of the Sale of the Purchased Assets
 to the Purchaser, pursuant to the Agreement, or to the highest and best bidder for such Purchased
 Assets at the Auction provided for in the Bid Procedures Motion and the Bid Procedures, to take
 place in accordance with the order to be entered by the Court on the Bid Procedures Motion (the
 “Bid Procedures Order”). The proposed Agreement contemplates that the Purchased Assets will
 be sold free and clear of liens, claims, encumbrances, rights, and other interests other than those
 liens and interests expressly permitted under the Agreement.

         2.      As discussed below, the Debtor’s sale process is in the best interests of the Debtor
 and its estate and creditors. The Sale will provide for the payment consisting of: (a) cash in an
 amount equal to the Obligations owed by Debtor to PMC (the “PMC Obligations”), as the term
 Obligations is defined in that certain Loan and Security Agreement, dated April 23, 2012, between
 Seller and PMC, as amended, modified or restated from time to time, and encompassing both
 prepetition and post petition obligations of Seller to PMC as of the Closing Date (the “PMC Cash
 Amount”);3 (b) additional cash in the amount of $100,000 (the “Additional Cash Amount”); plus
 (c) the assumption of the Assumed Liabilities.

                                            Jurisdiction and Venue

         3.     The United States Bankruptcy Court for the District of Colorado (the “Court”) has
 jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core
 proceeding within the meaning of 28 U.S.C. § 157(b)(2).

           4.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         5.    The statutory predicates for the relief sought herein are sections 363, 365, 1107,
 and 1108 of Title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 6004,
 6006, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and
 L.B.R. 2002-1 and 6004-1 of the Local Rules of Bankruptcy Practice and Procedure of the United
 States Bankruptcy Court for the District of Colorado (the “Local Rules”).

                                              General Background

        6.       On November 27, 2017 (the “Petition Date”), the Debtor filed with this Court a
 voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtor is operating its
 business as debtor and debtor-in-possession pursuant to sections 1107(a) and 1108 of the

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           PMC has agreed that if the stalking horse bidder is the successful bidder for the Purchased Assets, PMC will
 credit the PMC Cash Amount in an amount equal to $100,600 on account of prepetition default interest, plus $40,000
 on account of the closing fee in connection with the debtor in possession financing agreement between PMC and
 Debtor.


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 Bankruptcy Code.

         7.     No request has been made for the appointment of a trustee or an examiner in these
 cases, and no official committee has yet been appointed by the Office of the United States Trustee.

                                    Sale of the Purchased Assets

         8.      The Debtor seeks approval of the sale (the “Sale”) of substantially all of its assets,
 including, inter alia, certain described assets and tangible property, Assigned Contracts, permits,
 intellectual property, claims and other personal property all as more fully set forth in the
 Agreement and fully defined therein as the “Purchased Assets”.

        9.       Pursuant to the Agreement, the Debtor and the Purchaser propose the following
 timeline:

                       Entry of the Bid Procedures Order no later than December 8, 2017.
                       Deadline to (a) submit competing bids, (b) object to sale, (c) object to
                        assumption/assignment and cure claim no later than 1:00 p.m. (prevailing
                        Mountain Time) on January 10, 2018.
                       Auction to be held at 1:00 p.m. (prevailing Mountain Time) on January
                        11, 2018.
                       A half day hearing on the Sale (the “Sale Hearing”) to be held between
                        January 15, 2018 and January 19, 2018 (or such other date thereafter
                        as the Court may be available).
                       Closing of Sale no later than January 31, 2018.

         10.      In light of the extensive marketing process already undertaken, the additional
 efforts that will be made during the proposed sale process, and based upon the current financial
 condition of the business, the timing of the sale proposed herein is reasonable under the
 circumstances to effectuate a sale to either the Purchaser under the terms of the Agreement or,
 alternatively, to a higher and better bidder for the Assets. The Debtor believes that the sale process
 provides sufficient time to fully expose the Purchased Assets for sale in the hope of achieving a
 competitive bidding process.

                              Prepetition Marketing and Sale Efforts

         11.    The Debtor’s assets have been exposed to the market for at least ten months. The
 Debtor commenced the process of evaluating restructuring and sale options in early 2017 with the
 hiring of W.G. Nielsen & Co. (“W.G. Nielsen”) on January 5, 2017, and held their initial meeting.
 Under the terms of its agreement, W.G. Nielsen explored a sale transaction for the Debtor. Starting
 in February 2017, W.G. Nielsen contacted 223 potential capital sources all of whom are
 characterized as institutional investors or large strategic investors. On March 20, 2017, W.G.
 Nielsen partnered with Keystone Capital Markets, Inc. due to their experience within the mountain
 biking industry, to approach additional strategic and financial buyers. As of November 2017,
 W.G. Nielsen received 64 requests for further information. Debtor received 55 executed non-


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 disclosure agreements and delivered a Confidential Information Memorandum and additional
 financial information via data room access to those 55 requestors. 43 parties engaged in diligence
 and entered the data room.

         12.    The initial timeline called for bids to be received by Friday April 14, 2017, and the
 Debtor received 3 indications of interest. The Debtor also received 1 letter of intent by that date,
 which was later withdrawn. From May 22, 2017 through August 11, 2017, W.G. Nielsen re-
 approached the market contacting additional parties and reengaging with parties that had
 previously shown interest. W.G. Nielsen requested LOI’s and received LOI’s from 3 parties. After
 management presentations from 2 of those parties, LOI’s were submitted from July 14, 2017
 through August 11, 2017. After further negotiation the Debtor executed an LOI with an affiliate
 of the Purchaser on August 31, 2017.

         13.   Since August 31, 2017, the Debtor and an affiliate of the Purchaser have worked to
 complete due diligence and engage the existing lenders in attempt to work out a mutually beneficial
 solution. On November 27, 2017, the Debtor entered into an Asset Purchase Agreement with
 Niner Acquisition LLC as buyer and the initial “stalking horse” bidder.

         14.    Ultimately, after extensive negotiations, the Debtor and the Purchaser entered into
 the Agreement. As noted above, the consideration to be paid by Purchaser to Debtor for the
 Purchased Assets consists of: (a) cash in an amount equal to the PMC Obligations, as the term
 Obligations is defined in that certain Loan and Security Agreement, dated April 23, 2012, between
 Seller and PMC, as amended, modified or restated from time to time, and encompassing the PMC
 Cash Amount;4 (b) the Additional Cash Amount); plus (c) the assumption of the Assumed
 Liabilities.

                                        Continued Marketing Process

         14.      W.G. Nielsen intends to streamline the due diligence process going forward. A
 data room is already and will continue to be available to interested parties who have, or will,
 execute confidentiality agreements acceptable to the Debtor. The Debtor will continue to respond
 to inquiries from prospective buyers through the bid deadline approved by the Court for alternative
 bidders to bid on the Purchased Assets. W.G. Nielsen will re-engage previous potential bidders,
 and will utilize its extensive personal/company database (consisting of years of complied leasehold
 buyers) to essentially re-market the Purchased Assets nationwide.

         14.     While the prepetition marketing and sale process was thorough, as discussed above,
 the Debtor will send, or will have sent, notice of the Sale Motion and Bid Procedures to all parties
 that the Debtor believes may be potentially interested in acquiring the Purchased Assets. To assist
 with this task, and to ensure that the highest and best price is obtained for the Purchased Assets,
 the Debtor seeks to retain W.G. Nielsen to continue as its marketing agent to solicit for further
 offers for the Purchased Assets. W.G. Nielsen was involved in the pre-petition marketing of the

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           PMC has agreed that if the stalking horse bidder is the successful bidder for the Purchased Assets, PMC will
 credit the PMC Cash Amount in an amount equal to $100,600 on account of prepetition default interest, plus $40,000
 on account of the closing fee in connection with the debtor in possession financing agreement between PMC and
 Debtor.


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 Purchased Assets, and will continue to be responsible for marketing the Purchased Assets. W.G.
 Nielsen has access to significant resources, ensuring that the Purchased Assets will continue to be
 marketed on a large scale.

          15.    In light of the prepetition marketing efforts, and anticipated post-petition marketing
 efforts, the Debtor believes that the intended sale process provides sufficient time to fully expose
 the Purchased Assets for sale in the hope of achieving a competitive bidding process. The Debtor
 believes that the consummation of the Sale to the Purchaser, or other successful bidder, will
 provide its creditors and other stakeholders with the best opportunity possible for maximizing the
 value of the Purchased Assets. Except as otherwise provided in definitive documentation with
 respect to the Sale, all of the Debtor’s rights, title and interest in and to the Purchased Assets shall
 be sold free and clear of all pledges, liens, security interests, encumbrances, claims, charges,
 options and interests thereon and there against (collectively, the “Claims and Interests”).

                                          Agreement with Purchaser

        16.     The Debtor believes that the consummation of the Sale to the Purchaser or other
 successful bidder will provide its creditors and other stakeholders with the best opportunity
 possible for maximizing the value of the Purchased Assets.

         17.     The key terms of the Agreement and the proposed Sale Order, are summarized
 below. The description below only summarizes certain provisions of the Agreement and the Sale
 Order as a convenience to the Court and parties in interest, and the terms of the Agreement control
 in the event of any inconsistency.

                   a.       Purchase Price. The total consideration to be paid by Purchaser to Debtor
                            for the Purchased Assets consists of (a) cash in an amount equal to the PMC
                            Obligations, as the term Obligations is defined in that certain Loan and
                            Security Agreement, dated April 23, 2012, between Seller and PMC, as
                            amended, modified or restated from time to time, and encompassing the
                            PMC Cash Amount;5 (b) the Additional Cash Amount); plus (c) the
                            assumption of the Assumed Liabilities. See Agreement § 2.7.

                   b.       Purchased Assets. The Purchased Assets include, (a) the Assets and
                            Tangible Property described in Schedule 2.1(a); (b) the Leased Real
                            Property described in Schedule 2.1(b); (c) the Assigned Contracts described
                            in Schedule 2.1(c); (d) the Permits described in Schedule 2.1(d); (e) the
                            Intellectual Property set forth on Schedule 2.1(e); (f) originals, or where not
                            available, copies, of all Documents, Books and Records relating to the
                            Business; (g) all of the rights of Seller under warranties, indemnities and all
                            similar rights against third parties the extent related to the Business; (h) all
                            insurance policies of Seller to the extent related to the Business; (i) deposits,

 5
           PMC has agreed that if the stalking horse bidder is the successful bidder for the Purchased Assets, PMC will
 credit the PMC Cash Amount in an amount equal to $100,600 on account of prepetition default interest, plus $40,000
 on account of the closing fee in connection with the debtor in possession financing agreement between PMC and
 Debtor.


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                      prepaids, retainers and similar amounts made to vendors in connection with
                      the Business relating to or arising in connection with any of the Assigned
                      Contracts (collectively, “Deposits”); and (j) all Claims to the extent related
                      to the Purchased Assets described in this Section 2.1(a) or the Assumed
                      Liabilities, but specifically excluding all Claims arising under chapter 5 of
                      the Bankruptcy Code (i) against counterparties who are party to (or
                      Affiliates of a party to) any Assigned Contract, (ii) otherwise arising under
                      or related to the Purchased Assets, or (iii) against Buyer (or Buyer’s
                      Affiliates); provided, that the Debtor shall retain the right to assert any such
                      Claims as a defense or objection to proofs of claim asserted against the
                      Debtor or its bankruptcy estate in the Chapter 11 Case. See Agreement §
                      2.1. The Purchased Assets do not include the Excluded Assets or Excluded
                      Contracts. See Agreement § 2.2.

                 c.   Identity of Purchaser. The Purchaser is Niner Acquisition LLC.

                 d.   Assumption of Executory Contracts and Unexpired Leases. The
                      proposed sale contemplates that the Debtor may assume and assign to the
                      Purchaser certain of the executory contracts and unexpired leases associated
                      with the Purchased Assets (i.e., the Assigned Contracts). See Agreement
                      § 2.1.

                 e.   Break Up Fee. Subject to approval of the Bankruptcy Court, in
                      consideration for the Purchaser having expended considerable time and
                      expense in connection with the Agreement and the negotiation thereof and
                      to compensate Purchaser as a stalking-horse bidder, in the event that the
                      Debtor consummates an alternative transaction instead of the proposed Sale
                      to the Purchaser under the terms of the Agreement, the Debtor shall pay
                      Purchaser a break-up fee in the greater amount of either $100,000 or 3% of
                      the Purchase Price, and an expense reimbursement not to exceed $50,000
                      (collectively, the “Break-Up Fee”). See Agreement § 5.12.

                 f.   Representations, Warranties and Covenants. The Debtor made various
                      representations customary for a transaction of this kind including, but not
                      limited to, those relating to organization and good standing, authorization
                      and validity, qualification, absence of conflicts, litigation, compliance with
                      legal requirements, environmental matters, title to and use of assets and
                      property, contracts, taxes, intellectual property, and financial statements and
                      reports. See Agreement Article 3. The Purchaser has made certain
                      representations, among others, relating to organization, good standing and
                      authorization, absence of conflict, sufficiency of funds, solvency, litigation,
                      and independent investigation. See Agreement Article 4.

                 g.   Conditions. The Closing is conditioned upon the occurrence of certain
                      events customary for transactions of this kind, including payment in full of
                      the PMC Cash Amount at Closing, the truthfulness of all representations



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                        and warranties, and all consents and approvals, including approvals of the
                        Bankruptcy Court, having been obtained. See Agreement § 5.7.

                 h.     Rule 6004/6006 Waiver. The proposed Sale Order provides that, upon
                        entry, the Sale Order will be immediately enforceable, notwithstanding
                        Bankruptcy Rules 6004 and 6006. See Sale Order ¶ 22. As discussed
                        herein, the sale and prompt consummation thereof are in the best interest of
                        the Debtor and its estate in order to maintain and otherwise maximize the
                        value of the Debtor’s assets for the benefit of the estate and its stakeholders
                        and to comply with certain timing deadlines as discussed above.

                 i.     Successor Liability Findings. The Sale Order provides that the Purchaser
                        and its employees, officers, directors, advisors, lenders, affiliates, owners
                        and successors and assigns shall not have any successor or vicarious
                        liabilities. See Sale Order, ¶¶ R and 7.

                 j.     Record Transfer and Access. The Agreement provides for the transfer to
                        the Purchaser of all Files and Records. See Agreement § 2.1.

        18.     The Debtor believes that the sale of the Purchased Assets to the Purchaser or other
 successful bidder is in the best interests of the Debtor’s estate and its creditors. The Debtor further
 believes that obtaining the stalking horse bid, marketing the Purchased Assets with the assistance
 of W.G. Nielsen, and holding the Auction on the date specified by the Court will result in the
 highest or otherwise best consideration for the Purchased Assets.

         19.     The Debtor has examined the alternatives to a sale of the Purchased Assets and has
 determined that, in light of the Debtor’s financial situation, and value of the Purchased Assets, a
 more viable alternative to sale of the Purchased Assets does not exist. The Debtor determined that
 the sale of the Purchased Assets optimizes value for its estate and creditors.

         20.   For the reasons stated above, and in light of the obvious benefits to the estate, the
 Debtor has determined, in the exercise of its business judgment, to consummate the proposal
 submitted under the Agreement with the Purchaser or, if applicable, another bidder in the event
 that the Debtor receives a higher or otherwise better bid to the transaction set forth in the
 Agreement.

                                          Relief Requested

         21.    Section 363(b)(1) of the Bankruptcy Code provides that a debtor, “after notice and
 a hearing, may use, sell or lease, other than in the ordinary course of business, property of the
 estate.” 11 U.S.C. § 363(b)(1).

        22.    A sale of the debtor’s assets should be authorized pursuant to section 363 of the
 Bankruptcy Code if a sound business purpose exists for doing so. See, e.g., In re Allen, 607
 Fed.Appx. 840, No. 14-1242 (10th Cir. May 27, 2015) (citing In re Caste, Inc., 312 B.R. 426, 428
 (Bankr. D. Colo. 2004); In re Martin, 91 F.3d 389, 395 (3rd Cir. 1996) (citing Fulton State Bank
 v. Schipper (In re Schipper), 933 F.2d 513, 515 (7th Cir. 1991)); In re Abbotts Dairies of
 Pennsylvania, Inc., 788 F.2d 143 (3rd Cir. 1986); Stephens Indus., Inc. v. McClung, 789 F.2d 386,

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 390 (6th Cir. 1986); In re Lionel Corp., 722 F.2d 1063 (2nd Cir. 1983).

         23.     The Debtor has proposed the sale of the Purchased Assets after thorough
 consideration of all viable alternatives and has concluded that the sale is supported by many sound
 business reasons. The Debtor has extensively marketed the Purchased Assets as described above
 and has proposed Bid Procedures designed to maximize the purchase price realized from the sale
 of the Purchased Assets. Further, the Debtor believes the prepetition and postpetition marketing of
 the Debtor up to the proposed deadline to submit competing bids for the Purchased Assets will
 provide a sufficient opportunity to generate any potential overbids and maximize recovery for the
 Debtor’s creditors. Specifically, other potential buyers and parties that have expressed interest in
 the acquisition of the Purchased Assets will be served with this Sale Motion and/or notice thereof.

         24.    Based on the foregoing, the sale of the Purchased Assets is supported by sound
 business reasons and is in the best interests of the Debtor and its estate. Accordingly, the Debtor
 requests approval under section 363(b) of the Bankruptcy Code of the Sale to the Purchaser or
 other successful bidder, as set forth herein.

                   The Proposed Sale Satisfies the Requirements of Section 363(f) of the
                 Bankruptcy Code for a Sale Free and Clear of Liens, Claims, and Interests

           25.        363(f) of the Bankruptcy Code provides:

                      The trustee may sell property under subsection (b) or (c) of this
                      section free and clear of any interest in such Property of an entity
                      other than the estate, only if –

                      (1) applicable nonbankruptcy law permits sale of such property free
                      and clear of such interest;

                      (2) such entity consents;

                      (3) such interest is a lien and the price at which such property is to
                      be sold is greater than the aggregate value of all liens on such
                      property;

                      (4) such interest is in a bona fide dispute; or

                      (5) such entity could be compelled, in a legal or equitable
                      proceeding, to accept a money satisfaction of such interest.

                      11 U.S.C. § 363(f).

          26.     Section 363(f) is drafted in the disjunctive. Thus, satisfaction of any of the
 requirements enumerated therein will suffice to warrant the sale of the Purchased Assets free and
 clear of all of the applicable liens, claims and encumbrances, except with respect to any liens,
 claims and encumbrances permitted under the Agreement. See Citicorp Homeowners Services,
 Inc. v. Elliot, 94 B.R. 343, 345 (E.D. Pa. 1988). PMC has consented to the sale free and clear of
 its liens so long as the PMC Cash Amount paid to PMC in full, in cash, at the Closing. The Debtor

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 submits that each other lien, claim, and encumbrance that is not an assumed liability satisfies at
 least one of the five conditions of section 363(f) of the Bankruptcy Code, and that any such lien,
 claim, or encumbrance will be adequately protected by either being paid in full at the time of
 closing, or by having it attach to the sale proceeds, subject to any claims and defenses the Debtor
 may possess with respect thereto. The Debtor accordingly requests authority to convey the
 Purchased Assets to the Purchaser or other successful bidder(s), free and clear of all liens, claims,
 and encumbrances except for the liens, claims, and encumbrances that expressly permitted under
 the terms of the Agreement, with such liens, claims, and encumbrances to attach to the sale
 proceeds, with the same validity (or invalidity), priority and perfection as existed immediately
 prior to the Sale, subject to the terms of the Agreement and the Sale Order.

        27.      Accordingly, this Court should approve the sale of the Purchased Assets to the
 Purchaser or other successful bidder free and clear of liens, claims, and encumbrances under
 Bankruptcy Code section 363(f), and any potential claimants should be compelled to look
 exclusively to the proceeds of the sale for satisfaction of their claims.

                  Good Faith Under Section 363(m) of the Bankruptcy Code;
                 Sale Not In Violation of Section 363(n) of the Bankruptcy Code

           28.   Section 363(m) of the Bankruptcy Code provides:

                 The reversal or modification on appeal of an authorization under
                 subsection (b) or (c) of this section of a sale or lease of Property does
                 not affect the validity of a sale or lease under such authorization to
                 an entity that purchased or leased such Property in good faith,
                 whether or not such entity knew of the pendency of the appeal,
                 unless such authorization and such sale or lease were stayed pending
                 appeal.

                 11 U.S.C. § 363(m).

         29.     Section 363(n) of the Bankruptcy Code, among other things, provides, in turn, that
 a trustee may avoid a sale under such section if the sale price was controlled by an agreement
 among potential bidders at the sale. See 11 U.S.C. § 363(n). Although the Bankruptcy Code does
 not define “good faith,” the Third Circuit in In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d
 143 (3rd Cir. 1986), held that:

                 [t]he requirement that a Buyer act in good faith . . . speaks to the
                 integrity of his conduct in the course of the sale proceedings.
                 Typically, the misconduct that would destroy a Buyer’s good faith
                 status at a judicial sale involves fraud, collusion between the Buyer
                 and other bidders or the trustee, or an attempt to take grossly unfair
                 advantage of other bidders.

                 788 F.2d at 147 (citations omitted).

         30.     The Agreement was negotiated at arms’ length and the Purchaser has acted in good
 faith, without collusion or fraud of any kind, and in compliance with the Abbotts Dairies standards.

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 Neither the Debtor nor the Purchaser (to the best of the Debtor’s knowledge) has engaged in any
 conduct that would prevent the application of section 363(m) of the Bankruptcy Code or otherwise
 implicate section 363(n) of the Bankruptcy Code with respect to the consummation of the Sale or
 the transfer of the Purchased Assets to the Purchaser. In addition, if a party other than the
 Purchaser is the successful bidder, the Debtor intends to make an appropriate showing at the Sale
 Hearing that the purchase agreement with the other successful bidder is a negotiated, arms’ length
 transaction, in which the successful bidder at all times has acted in good faith under and otherwise
 in accordance with such standards.

        31.     The Debtor thus requests that the Court find that the Purchaser or the successful
 bidder has purchased the Purchased Assets in good faith within the meaning of section 363(m) of
 the Bankruptcy Code and is entitled to the protections of sections 363(m) and (n) of the Bankruptcy
 Code.

                 Authorization of Assumption and Assignment of Assigned Contracts

          32.   As required by the Agreement, and in order to enhance the value to the Debtor’s
 estate, the Debtor requests approval of the potential assumption and assignment of any agreement,
 indenture, contract, lease, deed of trust, royalty, license, option, instrument, or other written
 commitment that have been identified as Assigned Contracts to Purchaser or the other successful
 bidder upon the closing of the transactions contemplated under the Agreement.

        33.    Pursuant to the Agreement, the Debtor is responsible for payment of all cure
 amounts required to be paid to the counterparties to the Purchased Contracts assumed and assigned
 (each a “Counterparty” and collectively, the “Counterparties”) under section 365(b)(1) of the
 Bankruptcy Code.

         34.     The Purchased Contracts are those contracts or leases that are to be assumed by the
 Debtor and assigned to the Purchaser or the other successful bidder as part of the sale transaction
 under the Agreement. The Debtor further requests that the Sale Order provide that the Assigned
 Contracts will be assigned to, and remain in full force and effect for the benefit of, the Purchaser
 or the other successful bidder, notwithstanding any provisions in the Assigned Contracts, including
 those described in sections 365(b)(2) and (f)(1) and (3) of the Bankruptcy Code, that prohibit such
 assignment.

          35.    Pursuant to the Bid Procedures Motion, the Debtor proposes that an initial list (or
 lists) of Assigned Contracts be served on all counterparties to such contracts and leases no later
 than two (2) business days after entry of the Bid Procedures Order.

           36.     Section 365(f) of the Bankruptcy Code provides, in pertinent part, that:

                   The trustee may assign an executory contract or unexpired lease of
                   the debtor only if –

                   (A)    the trustee assumes such contract or lease in accordance with
                   the provisions of this section; and



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                 (B)     adequate assurance of future performance by the assignee of
                 such contract or lease is provided, whether or not there has been a
                 default in such contract or lease.

 11 U.S.C. § 365(f)(2). Under section 365(a), a debtor “subject to the court’s approval, may assume
 or reject any executory contract or unexpired lease of the debtor.” 11 U.S.C. § 365(a). Section
 365(b)(1), in turn, codifies the requirements for assuming an unexpired lease or executory contract
 of a debtor, providing that:

                 (b)(1) If there has been a default in an executory contract or
                 unexpired lease of the debtor, the trustee may not assume such
                 contract or lease unless, at the time of assumption of such contract
                 or lease, the trustee --

                 (A) cures, or provides adequate assurance that the trustee will
                 promptly cure, such default;

                 (B) compensates, or provides adequate assurance that the trustee
                 will promptly compensate, a party other than the debtor to such
                 contract or lease, for any actual pecuniary loss to such party
                 resulting from such default; and

                 (C) provides adequate assurance of future performance under such
                 contract or lease.

 11 U.S.C. § 365(b)(1).

          37.     Although section 365 of the Bankruptcy Code does not set forth standards for courts
 to apply in determining whether to approve a debtor in possession’s decision to assume an
 executory contract, courts have consistently applied a “business judgment” test when reviewing
 such a decision. See, e.g., Group of Institutional Investors v. Chicago, Milwaukee, St. Paul &
 Pacific Railroad Co., 318 U.S. 523, 550 (1953); Matter of Talco, Inc., 558 F.2d 1369, 1173 (10th
 Cir. 1977); In re J.H. Land & Cattle Co., Inc., 8 B.R. 237, 238 (Bankr. W.D. Okla. 1981); In re
 Crescent Oil Co., Inc., 2010 WL 2721878, 3 (Bankr. D. Kan. 2010); see also Nat’l Labor Relations
 Bd. v. Bildisco and Bildisco (In re Bildisco), 682 F.2d 72, 79 (3rd Cir. 1982) (stating that “the usual
 test for rejection of an executory contract is simply whether rejection would benefit the estate, the
 ‘business judgment’ test”). The business judgment standard mandates that a court approve a
 debtor’s business decision unless the decision is the product of “bad faith, whim or caprice.”
 Lubrizon Enters v. Richmond Metal Finishes, 756 F.2d 1043, 1047 (4th Cir. 1980).

         38.    A debtor satisfies the “business judgment” test when it determines, in good faith,
 that assumption of an executory contract will benefit the estate and the unsecured creditors. In re
 FCX, Inc., 60 B.R. 405, 411 (Bankr. E.D.N.Y. 1986). The potential assumption and assignment
 of the Purchased Contracts, or any of the Lease Assets, set forth in the Agreement, will be a
 necessary part of the deal that Debtor has struck with the Purchaser or other successful bidder and,
 as stated above, will benefit the estate of Debtor.

           39.   As set forth above, with respect to Assigned Contracts to be potentially assumed

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 and assigned pursuant to the Sale Hearing, the Debtor has or will send the Cure Notices to all
 Counterparties in connection with the Court’s approval of the Bid Procedures, thereby notifying
 such Counterparties of the potential assumption by the Debtor and assignment to the Purchaser or
 the successful bidder of the Assigned Contracts at the Sale Hearing. The Cure Notices set forth
 the “cure” amounts owing on each of the Lease Assets, according to Debtor’s books and records
 and, in accordance with the provisions set forth in the Bid Procedures, shall be the amounts
 required to be paid pursuant to section 365(b)(1) of the Bankruptcy Code (“Cure Amounts”).
 The Bid Procedures Motion proposes that objections, if any, to either the Cure Amounts or the
 assumption or assignment of contracts and leases that are identified as Assigned Contracts to
 Purchaser or adequate assurance of future performance be filed on or before the objection deadline
 to the proposed sale. Objections to the adequate assurance of future performance of a successful
 bidder (other than the Purchaser), may be raised at the Sale Hearing.

         40.     Counterparties to Assigned Contracts will have a sufficient opportunity to file an
 objection to the proposed Cure Amounts set forth in the Cure Notices. To the extent no objection
 is filed with regard to a particular Cure Amount, such Cure Amount shall be binding on the
 applicable contract or lease Counterparty. The payment of the Cure Amounts specified in the Cure
 Notices (or a different amount either agreed to by the Debtor, or resolved by the Court as a result
 of a timely-filed objection filed by a contract or lease counterparty) will be in full and final
 satisfaction of all obligations to cure defaults and compensate the counterparties for any pecuniary
 losses under such contracts or leases pursuant to section 365(b)(1) of the Bankruptcy Code, unless
 the Debtor determines (with the consent of the Purchaser or successful bidder) that a particular
 lease or contract is not truly executory, and does not need to be cured to transfer the lease or
 contract to the successful bidder or Purchaser.

         41.     Cure Amounts disputed by any Counterparty will either be considered by the Court
 either at the Sale Hearing or at some later date as may be scheduled by the Court to determine
 contested objections regarding Cure Amounts, that have not been resolved in advance or at the
 Sale Hearing. With respect to payment of Cure Amounts, the Debtor shall bear and pay the entire
 amount of such cure costs.

         42.     The Purchaser or other successful bidder is responsible for providing evidence of
 “adequate assurances of future performance” to the extent required in connection with the
 assumption and assignment of any Assigned Contracts. The meaning of “adequate assurance of
 future performance” for the purpose of the assumption of executory contracts and unexpired leases
 pursuant to section 365 of the Bankruptcy Code depends on the facts and circumstances of each
 case, but should be given “practical, pragmatic construction.” See Carlisle Homes, Inc. v. Arrari
 (In re Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J. 1989). See also In re Natco Indus.,
 Inc., 54 B.R. 436, 440 (Bankr. S.D.N.Y. 1985) (adequate assurance of future performance does
 not mean an absolute assurance that debtor will thrive and pay rent); In re Bon Ton Rest. & Pastry
 Shop, Inc., 53 B.R. 789, 803 (Bankr. N.D. Ill. 1985). If necessary, the Purchaser or the other
 successful bidder shall provide evidence of its ability to provide adequate assurances to
 Counterparties to the Assigned Contracts at the Sale Hearing. Moreover, any successful bidder
 will be required to provide evidence that the bidder can provide adequate assurance of future
 performance with respect to Assigned Contracts at the time it submits its bid.



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                                               Notice

         43.     A copy of this Motion will be provided to (a) the Office of the United States
 Trustee; (b) the twenty largest unsecured creditors of the Debtor; (c) all parties who are known by
 the Debtor to assert liens with respect to the Purchased Assets, if any; and (d) all parties who have
 timely filed requests for notice under Rule 2002 of the Federal Rules of Bankruptcy Procedure.
 The Debtor respectfully submits that such notice is sufficient, and requests that the Court find that
 no further notice of the relief requested herein is required.

        44.    The Debtor requests, pursuant to Bankruptcy Rules 6004(h) and 6006(d), that the
 order approving this Sale Motion become effective immediately upon its entry.

                                             Conclusion

         45.    The Debtor’s proposed sale of the Purchased Assets as described in this Sale
 Motion is supported by sound business reasons, as set forth herein. The proposed sale is proper,
 necessary and serves the best interests of the Debtor, its estate and creditors, and all parties in
 interests. The Debtor thus requests that the Court approve the proposed Sale of the Purchased
 Assets free and clear of all interests, liens, claims, and encumbrances, as requested, to the
 Purchaser or other successful bidder.


         WHEREFORE, the Debtor respectfully requests that this Court grant this Sale Motion by
 entering the attached proposed order: (i) approving the Agreement and authorizing the sale of the
 Purchased Assets to the Purchaser or other successful bidder; (ii) authorizing the sale of the
 Purchased Assets free and clear of all liens, claims, rights, encumbrances and other interests; (iii)
 authorizing and directing payment of the PMC Cash Amount to PMC at the Closing; (Iv)
 authorizing the assumption and assignment of Lease Assets that are identified as Purchased
 Contracts; (v) approving the form and manner of notice of this Sale Motion, and of the proposed
 sale and the assumption and assignment of Lease Assets that are identified as Purchased Contracts;
 and, (vi) granting such other and further relief as is just and proper.

 Dated:          November 27, 2017.

                                               MARKUS WILLIAMS YOUNG AND
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